       Case 1:19-cv-03296-GLR Document 14-1 Filed 12/10/19 Page 1 of 14



                         UNITED STATES DISTRICT COUNT
                         FOR THE DISTRICT OF MARYLAND
                                (Northern Division)

MARSHALL TODMAN, et al.,             )
                                     )
       Plaintiff,                    )
                                     )
vs.                                  )
                                     ) Civil Action No.: 19-cv-3296-GLR
MAYOR AND CITY COUNCIL               )
OF BALTIMORE, et al.,                )
                                     )
       Defendants.                   )
                   DEFENDANT MAYOR AND CITY COUNCIL
    OF BALTIMORE’S MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
                               DISMISS

       Defendant, Mayor and City Council of Baltimore (the “City”), by undersigned

counsel, submits this memorandum of law in support of its motion to dismiss in this

action because the Complaint filed by Plaintiffs Marshall Todman and Tiffany Gattis

(individually and collectively, the “Plaintiffs”) fails to state a cause of action against the

City. Specifically, the Baltimore City law Plaintiffs seek to invalidate does not violate

Amendments V and XVI of the United States Constitution and Plaintiffs are not entitled

to monetary damages and attorney’s fees pursuant to 28 U.S.C. § 1983.

   I. INTRODUCTION

       A. The Baltimore Eviction Chattel Law.

       On August 14, 2007, Baltimore City Mayor Sheila Dixon signed into law an

ordinance aimed at regulating the disposal of “eviction chattels.” BALTIMORE CITY,

HOUSING AND URBAN RENEWAL, § 8A-1, et seq. (hereinafter, the “Eviction Chattel

Law”). “Eviction chattels” are “property removed from a leased dwelling under a
       Case 1:19-cv-03296-GLR Document 14-1 Filed 12/10/19 Page 2 of 14



warrant of restitution.” § 8A-1(b). A “warrant of restitution” is the eviction order

issued by the District Court of Maryland and executed by the sheriff to allow a landlord

to take possession of a dwelling from an evicted tenant. See Hall v. Greystar Management

Services, LP, 28 F.Supp.3d 490, 492 (D. Md. 2014) and MD. CODE ANN., REAL PROP.

ART. § 8-216(b)(2) (2019). The ordinance was enacted to, inter alia, prevent the property

of former tenants from being thrown onto the streets and alleyways of the city after an

eviction proceeding and provide landlords, who obtained the legal right to possess their

properties, the ability to lease those dwellings in a timely and efficient manner after an

eviction. It dictates the rights and responsibilities of both the landlord and tenant vis-a-

vis property left in a dwelling after the warrant of restitution is executed by the sheriff.

§ 8A-4. Specifically, it defines when and how a tenant’s property is determined to be

abandoned and the landlord’s duties regarding that property.            § 8A-4 - § 8A-6.

Importantly it imposes penalties on any person, including landlords, who violates the

ordinance’s provisions related to the disposal of eviction chattel. § 8A-9.

       B. Hold Over Tenant Eviction Due Process.

       In Maryland, the eviction of a hold-over tenant is governed by MD. CODE

ANN., REAL PROP. ART. § 8-402 (2019). Pursuant to that statute, when a landlord

desires to regain possession of her property after the expiration of a tenancy term, she

must file an action in the District Court of Maryland where the property is located. § 8-

402(b)(1). The court then issues a summons to be served on the hold-over tenant and

the tenant is entitled to a hearing in the District Court where they may assert any rights

or defenses in the action. § 8-402(b)(2)(i). If the judgment is entered in favor of the

                                             2
        Case 1:19-cv-03296-GLR Document 14-1 Filed 12/10/19 Page 3 of 14



landlord, the District Court grants her a judgment and an immediate warrant for

restitution to be executed by the sheriff.       § 8-402(b)(2).   After the court issues a

judgment, the tenant and/or landlord is entitled to file an appeal in the Circuit Court. §

8-402(b)(2)(ii).   Therefore, the eviction and eventual ejectment is no surprise to a

holdover tenant as they have already been provided with notice of the eviction and an

opportunity for a hearing.

       Pursuant to the Eviction Chattel Law, all property “in or about” the leased

premises at the time the warrant of restitution is executed is abandoned. BALTIMORE

CITY, HOUSING AND URBAN RENEWAL, § 8A-4(a).                         The ordinance places

restrictions on what a landlord may do with the abandoned property. The landlord is

required to depose of the eviction chattels by: (1) transporting them to a licensed landfill

or solid waste facility; (2) donating them to charity; or (3) some other legal means. § 8A-

5. Additionally, the landlord is strictly prohibited from placing the eviction chattels,

whether they be abandoned or otherwise, in a public right-of-way or on public

property. § 8A-6. This provision prevents the landlord from resorting to leaving a

former tenant’s possessions on public streets and alleyways. If a landlord, or anyone,

does not dispose of the Property as dictated by § 8A-5 and § 8A-6, they may be subject

to criminal penalties. § 8A-9.

       C. Plaintiffs Consented to the Eviction and Failed to Vacate.

       Plaintiffs are admitted holdover tenants, who attended the District Court hearing

and consented to the judgment but failed to vacate their former landlord’s dwelling

before the sheriff executed the court ordered warrant of restitution. Compl. ¶¶23, 28.

                                             3
            Case 1:19-cv-03296-GLR Document 14-1 Filed 12/10/19 Page 4 of 14



They allege that thereafter, their landlord retained their personal possessions using

methods that violated the Eviction Chattel law.1 Compl. ¶¶41-42. Their solution to this

quandary is to demand that this Court declare the very law that the landlord allegedly

violated unconstitutional.                 Compl. ¶¶42-56.             Also, although they do not allege

wrongdoing by any City official, Plaintiffs seek monetary damages from the City. Id.

The Court should reject Plaintiffs’ invitation. Plaintiffs have not and cannot prove that

the Baltimore City ordinance governing the dispossession of eviction chattels is

unconstitutional; therefore, their Complaint should be dismissed with prejudice and

without leave to amend.

       II. LEGAL STANDARD

       A complaint is subject to dismissal pursuant to Federal Rule of Civil Procedure

12(b)(6) if it does not “state a claim upon which relief can be granted.” A motion filed

under Rule 12(b)(6) challenges the legal sufficiency of a complaint, Jordan v. Alternative

Resources Corp., 458 F.3d 332, 338 (4th Cir. 2006), considered with the assumption that

the facts alleged are true, Eastern Shore Mkts, Inc. v. J.D. Assocs. Ltd. P’ship, 213 F.3d 175,

180 (4th Cir. 2000). The legal sufficiency of a complaint is measured by whether it meets

the standards for a pleading set forth in Federal Rules of Civil Procedure 8, 9, 10 and 11,

as well as Rule 12(b)(6). See Francis v. Giacomelli, 588 F.3d 186, 192 (4th Cir. 2009). The

aggregation of the specific requirements of these rules “reveals the countervailing

policy that plaintiffs may proceed into the litigation process only when their

Complaints are justified by both law and fact.” Id. at 193. (emphasis added).

1
    Plaintiff’s allegations are accepted as true for the solely for the purpose of this motion.

                                                              4
       Case 1:19-cv-03296-GLR Document 14-1 Filed 12/10/19 Page 5 of 14



       Although the pleading standard does not require detailed factual allegations, “it

demands more than an unadorned, the-defendant-unlawfully-harmed-me accusation.”

Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009). Moreover, the court is not obligated to

accept a plaintiff’s conclusory allegations regarding the legal effect of the facts alleged.

See United Mine Workers of Am. v. Wellmore Coal Corp., 609 F.2d 1083, 1085-86 (4th Cir.

1994). Rather, a plaintiff has an obligation to provide grounds for his entitlement to

relief and that obligation requires more than labels, conclusions, or a formulaic

recitation of the elements of a cause of action. See Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007). “Factual allegations must be enough to raise a right to relief above a

speculative level.” Qwest Communications Corp. v. Maryland-National Capital Park &

Planning Comm’n, 553 F. Supp. 2d 572, 574 (D. Md. 2008) (quoting Twombly, 550 U.S. at

555). “Nor does a Complaint suffice if it tenders naked assertions devoid of further

factual enhancement.” Ashcroft, 129 S. Ct. at 1949 (internal quotation marks and citation

omitted).

       Thus, in order “[t]o survive a motion to dismiss, a Complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on

its face.’” Id. (emphasis added) (quoting Twombly, 550 U.S. at 570). The plausibility

standard requires a plaintiff to demonstrate more than “a sheer possibility that a

defendant has acted unlawfully.” Id. Rather, it requires the plaintiff to articulate facts,

when accepted as true, that “show” that the plaintiff has stated a claim entitling him to

relief, i.e., the “plausibility of ‘entitlement to relief.’” Id. (quoting Twombly, 550 U.S. at

557) (emphasis added). In the instant case, the allegations set forth in the Complaint set

                                              5
       Case 1:19-cv-03296-GLR Document 14-1 Filed 12/10/19 Page 6 of 14



forth no plausible claims on the face of the pleading, and, accordingly, dismissal of all

claims against the City is compelled.

   III. STATEMENT OF FACTS

       Plaintiffs were tenants of Defendant Brock Collins (the “landlord” or “Collins”)

at a rental home located at 4214 Ridgewood Avenue, 1st Floor, Baltimore City, Maryland

(the “Dwelling”). Compl. ¶23. The Complaint does not state how long Plaintiffs rented

the Dwelling from Mr. Collins; however, in the summer of 2019, the landlord filed a

holdover tenant action against the Plaintiffs in the District Court of Maryland for

Baltimore City. Compl. ¶15. On July 2, 2019, Plaintiffs and Mr. Collins appeared for a

hearing in the District Court on the holdover tenant action. Compl. ¶23. Although

Plaintiffs wished to stay in the Dwelling for another month—until August 2, 2019, Mr.

Collins expressed concern that if they could stay until then that it would take him

weeks more to actually have Plaintiffs removed from the Dwelling.             Compl. ¶25.

Thereafter, Plaintiffs consented to an eviction summarized by the District Court judge

as: “[m]y understanding is that [Plaintiffs] are consenting to a judgment and a stay of

execution will be until the 16th day of July, at which point it would still take at least

two weeks to schedule an eviction[,] therefore you would be evicted, is that correct?”

Compl. ¶28. Plaintiffs and Mr. Collins agreed. Id. Mr. Collins asked the judge when he

should file for the warrant of restitution and the judge directed him to the clerk’s office.

Compl. ¶29. Therefore, the judge expressly advised the parties that the sheriff could

execute the warrant of restitution two weeks after the agreed eviction date. Compl.

¶26.

                                             6
       Case 1:19-cv-03296-GLR Document 14-1 Filed 12/10/19 Page 7 of 14



       Two weeks after the consented stay date, on July 31, 2019, the sheriff executed

the warrant of restitution. Compl. ¶37. Although Plaintiffs were not present in the

Dwelling, their possessions were still in the home along with Plaintiff Gattis’ mother.

Compl. ¶37.     Id.    According to the Complaint, Mr. Collins retained the Plaintiffs’

possessions and after he refused to sell them back the possessions, ceased

communication with Plaintiffs. Compl. ¶42. The Complaint is silent about whether

Plaintiff sought redress against Mr. Collins under the Eviction Chattel Law, contacted

the police, or swore out a criminal complaint with the District Court commissioner

because of Mr. Collins’ alleged actions.

   IV. ARGUMENT

       The gravamen of Plaintiffs’ Complaint is the eviction procedure and the Eviction

Chattel Law, specifically, deprived them of their Fourteen Amendment due process

rights because it they were not given when the sheriff would execute the warrant of

restitution.   Plaintiffs further claim that this constitutes a constitutional “taking”

pursuant to the Fifth Amendment. Because both of Plaintiffs’ claims have no legal

merit, the City is entitled to judgment as a matter of law.

           A. The Eviction Chattel Law Did Not Deny Plaintiffs Due Process.

       An inquiry into rights secured by the Due Process Clause of the Fourteenth

Amendment requires both an analysis of procedural and substantive due process.

Zinermon v. Burch, 494 U.S. 113, 125, 110 S.Ct. 975 (1990).

                      1. Plaintiffs Had Actual Notice of and Actively Participated in the
                         Eviction Proceeding.


                                             7
       Case 1:19-cv-03296-GLR Document 14-1 Filed 12/10/19 Page 8 of 14



       Plaintiffs were afforded procedural due process in the eviction proceeding. “An

elementary and fundamental requirement of due process in any proceeding which is to

be accorded finality is notice reasonably calculated, under all circumstances, to apprise

interested parties of the pendency of the action and afford them an opportunity to

present their objections.” Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314,

70 S.Ct. 652 (1950). “Procedural due process is simply a guarantee of fair procedures—

typically notice and an opportunity to be heard. Mora v. City of Gaithersburg, 519 F.3d

216, 230 (4th Cir. 2008)(internal citations omitted). See also, Nelson v. Diversified Collection

Services, Inc., 961 F.Supp. 863, 868 (D. Md. 1997). Further, when a judicial proceeding is

made available to a plaintiff and she avails herself of that procedure, she cannot later

claim to have been denied due process. See Snider International Corp. v. Town of Forest

Heights, 906 F.Supp.2d 413, 431 (D. Md. 2012).

       Plaintiffs admit that non-judicial evictions for residential tenancies are prohibited

in Maryland. Compl. ¶16; see also, MD. CODE ANN., REAL PROP. ART. § 8-216 (2019).

Therefore, it is implicit in the Eviction Chattel Law that before property is subject to the

provisions of BALTIMORE CITY, HOUSING AND URBAN RENEWAL § 8A-4 and §

8A-5, that a judicial proceeding has already occurred. The language of the law itself

requires that no property is considered abandoned unless and until a warrant of

restitution is executed on the property. See, id. And, a warrant of restitution is only

issued by the District Court of Maryland after the opportunity for a hearing. See REAL

PROP. ART. § 8-402(b)(2)(i).



                                               8
       Case 1:19-cv-03296-GLR Document 14-1 Filed 12/10/19 Page 9 of 14



      A similar issue was examined in Hall v. Greystar Management Services, LP, 28

F.Supp.3d 490 (D. Md. 2014). Hall interprets the “abandoned property” provision after

an eviction proceeding found in the Baltimore County Code, Art. 35, § 35-3-103. The

Baltimore County code provides that “[p]roperty removed from the leased premises in

accordance with a properly issued warrant of restitution shall be considered

abandoned.” § 35-3-103(a)(3). Like in this case, the provision expressly abrogates the

common law definition of “abandoned” property. 28 F.Supp.3d at 494. In Hall, a

Plaintiff claimed that her constitutional rights were violated when the sheriff executed a

warrant of restitution after she paid an additional month’s rent and prepared to move

from the leased premises after an eviction hearing. 28 F.Supp.3d at 494. Some of her

belongings were deposed of in a landfill and other possessions were never accounted

for. Id. at 492. Judge Bredar granted the motions to dismiss filed by all defendants. Id.

at 498. He reasoned:

              it is not this Court’s place to second-guess the policy choices
             of the elected legislators of Baltimore County. Nor is it the
             Court’s place to ignore plain legislative language by blurring
             bright lines and softening sharp effects out of sympathy for a
             tenant in difficult circumstances. Rather, the duty of the
             Court is to uphold the law, as enacted. Except when
             constitutional mandates otherwise require, it is simply not
             the province of the courts to rewrite plain and unambiguous
             statutes even when their application would seem to work
             unfairness in a particular case. Here, by operation of section
             35–3–103, Plaintiff's property became abandoned property
             once it crossed the threshold of her apartment. From that
             moment, Plaintiff ceased to have any legal interest in the
             property.

28 F.Supp.3d at 494.


                                            9
      Case 1:19-cv-03296-GLR Document 14-1 Filed 12/10/19 Page 10 of 14



       Here, Plaintiffs were provided with a hearing and consented to the eviction.

Compl. ¶28.    They actively negotiated the terms of their eviction date and agreed that

the stay of eviction would expire on July 16, 2019. Id. Plaintiffs agreed to this date in

anticipation that it would take “at least two weeks” after July 16 for the sheriff to

execute the warrant of restitution. Compl. ¶26. They were correct in that instance, 14

days or two weeks later, on July 31, 2019, the sheriff executed the warrant of restitution.

Compl. ¶37. By that time, Plaintiffs were not just admitted hold over tenants, but they

remained in the Dwelling past the stay of execution. Compl. ¶28, 37.

       In their Complaint, Plaintiffs harp endlessly that Mr. Collins stated that he may

seek the warrant of restitution on July 16 or 17, but instead filed for the warrant on July

15. Compl. ¶29. According to the very language in their Complaint; there was never an

agreement about what date Mr. Collins would seek the warrant of restitution, only that

the eviction was stayed until July 16, 2019. Compl. ¶28. Even Plaintiff admits that Mr.

Collins sought guidance from the judge who directed him elsewhere. Compl. ¶29.

Further, Mr. Collins’ decision to seek the warrant on July 15 does not explain the

presence of Plaintiffs’ possessions in the Dwelling two weeks later—far after the

negotiated stay of execution expired.

                   2. The Substantive Due Process Requirements Were, Likewise
                      Satisfied.

       “Substantive due process violations ‘run only to state action so arbitrary and

irrational, so unjustified by any circumstance of governmental interest, as to be literally

incapable of avoidance of any pre-deprivation procedural protections or of adequate


                                            10
      Case 1:19-cv-03296-GLR Document 14-1 Filed 12/10/19 Page 11 of 14



rectification by any post-deprivation remedies.      See, Mora, 519 F.3d at 230 (quoting

Rucker v. Harford Cnty., 946 F.2d 278, 281 (4th Cir. 1991)). Based on this standard,

Plaintiff’s substantive due process claims cannot survive. The City has a significant

interest in encouraging landlords and property managers to rent residential property to

the residents of Baltimore City. Therefore, it had the right to institute a procedure to

allow landlords to dispose of possessions left behind by tenants who it has been

judicially determined no longer have the right to be in possession of a dwelling.

Further, the City has a significant interest in insuring that when tenants are evicted their

possessions are not put on the public streets and property of the City. This not only

creates potential hazards for other citizens, it displaces the resident’s possessions in a

way that make it nearly impossible to recover.

                   3. Plaintiffs’ Ignorance About the Provisions of the Eviction Chattel
                      Law Do Not Entitle Them to Invalidate a Constitutional
                      Ordinance.

       Plaintiffs’ true grievance appears to be that they were allegedly unaware of the

Eviction Chattel Law’s provisions related to abandoned property. Their Complaint

blames both the District Court of Maryland judge and Mr. Collins for not informing

them about the law’s effects.     Compl. ¶30. Maryland law has been consistent for

decades: ignorance of the law is not an excuse. See Svrceck v. Rosenberg, 203 Md. App.

705, 721, 40 A.3d 494 (Md. App. 2012)(motion to stay foreclosure sale denied when

homeowner missed deadline due to ignorance of foreclosure procedures); HI Caliber

Auto and Towing, Inc. v. Rockwood Casualty Insurance Company, 149 Md. App. 504, 817

A.2d 274 (Md. App. 2003); Hargrove v. Mayor & City Council of Baltimore, 146 Md.App.

                                            11
      Case 1:19-cv-03296-GLR Document 14-1 Filed 12/10/19 Page 12 of 14



457, 467, 807 A.2d 149, 154 (2002)(Maryland has rejected ignorance of the law as good

cause for late filing under public tort claims acts); Ohio Casualty Ins. Co. v. Insurance

Comm'r, 39 Md.App. 547, 555, 387 A.2d 622, 626 (1978)(“Ignorance of the law cannot

serve as an excuse for failure to file a petition of appeal”.) It is not the duty of the

District Court of Maryland judge, Mr. Collins, or the City to educate Plaintiffs about the

ramifications of their decision to consent to an eviction and remain in the Dwelling past

the stay of execution.

          B. Plaintiffs’ Takings Claims Fail As A Matter of Law

   Plaintiffs’ claims under the Fifth Amendment for takings without compensation fail

because they cannot establish that the City engaged in a taking. “A necessary

component of any takings claim is that the Government actually took property, whether

by physical invasion or regulatory action….” Griffin Broadband Communications, Inc. v.

U.S., 79 Fed.Cl. 320, 324 (Fed.Cl. 2007) (rejecting a takings claim where the property was

stolen by Army personnel who were “acting in their private capacity, not as agents of

the Government”). See also Hall v. U.S., 84 Fed.Cl. 463, 472 (Fed.Cl. 2008). “There

clearly can be no taking when whatever acts complained of are those of private parties,

not the government.” Alves v. U.S., 133 F.3d 1454, 1458 (Fed. Cir. 1998).

       Here, the Complaint makes plain that the “taking” that occurred was perpetrated

entirely by a third party—allegedly Mr. Collins. They allege that Mr. Collins engaged

in actions that, if true, may have violated the Eviction Chattel law, itself. No takings

claim may lie when the alleged action runs contrary to the law. See Florida Rock Indus.,

Inc. v. United States, 791 F.2d 893, 898 (Fed. Cir. 1986)(claims not available to recover for

                                             12
      Case 1:19-cv-03296-GLR Document 14-1 Filed 12/10/19 Page 13 of 14



unauthorized acts). Plaintiffs have made no attempt to attribute any of these actions

directly to the City—they do not even allege that the sheriff was at fault. Accordingly,

dismissal is appropriate as a matter of law.

   V. CONCLUSION

      For the foregoing reasons, this Court should dismiss Plaintiff’s Complaint as to

the Mayor and City Council of Baltimore with prejudice and without leave to amend.



Date: December 10, 2019                             Respectfully submitted,

                                                    ANDRE M. DAVIS
                                                    City Solicitor


                                                    /s/ Renita L. Collins
                                                    ____________________________
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                                               13
      Case 1:19-cv-03296-GLR Document 14-1 Filed 12/10/19 Page 14 of 14



                              CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 10th day of December 2019, the Memorandum

of Law was filed in accordance with the Electronic Filing Requirements and Procedures,

as established by the United States District Court for the District of Maryland.


                                                 /s/ Renita L. Collins
                                                 ____________________________
                                                 RENITA L. COLLINS
                                                 Chief Solicitor




                                            14
